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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION
                                        ______

KEVIN DWAYNE THERIOT,

                       Plaintiff,                      Case No. 2:18-cv-189
v.                                                     Honorable Gordon J. Quist
DANIEL LESATZ et al.,

                       Defendants.
____________________________/

                           OPINION DENYING LEAVE
                 TO PROCEED IN FORMA PAUPERIS - THREE STRIKES

               This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983.

Plaintiff is presently incarcerated with the Michigan Department of Corrections in the Baraga

Correctional Facility (AMF) in Baraga, Michigan. He alleges that, on October 15, 2018, AMF

Warden Daniel Lesatz led a group of 10 MDOC employees from the Chippewa Correctional

Facility (URF) on a tour of AMF. The group passed Plaintiff’s cell. Defendant Lesatz ordered

Plaintiff to cuff up and removed Plaintiff from his cell. Plaintiff was brought into the hallway

where the URF visitors took turns punching Plaintiff in his face until his nose bled. Then, Plaintiff

was returned to his cell.

               Plaintiff seeks leave to proceed in forma pauperis. Because Plaintiff has filed at

least three lawsuits that were dismissed as frivolous, malicious or for failure to state a claim, he is

barred from proceeding in forma pauperis under 28 U.S.C. § 1915(g). The Court will order

Plaintiff to pay the $400.00 civil action filing fee applicable to those not permitted to proceed in

forma pauperis. This fee must be paid within twenty-eight (28) days of this opinion and

accompanying order. If Plaintiff fails to pay the fee, the Court will order that this case be dismissed

without prejudice. Even if the case is dismissed, Plaintiff must pay the $400.00 filing fee in

accordance with In re Alea, 286 F.3d 378, 380-81 (6th Cir. 2002).
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                                              Discussion

                The Prison Litigation Reform Act (PLRA), Pub. L. No. 104-134, 110 Stat. 1321

(1996), which was enacted on April 26, 1996, amended the procedural rules governing a prisoner’s

request for the privilege of proceeding in forma pauperis. As the Sixth Circuit has stated, the

PLRA was “aimed at the skyrocketing numbers of claims filed by prisoners–many of which are

meritless–and the corresponding burden those filings have placed on the federal courts.” Hampton

v. Hobbs, 106 F.3d 1281, 1286 (6th Cir. 1997). For that reason, Congress created economic

incentives to prompt a prisoner to “stop and think” before filing a complaint. Id. For example, a

prisoner is liable for the civil action filing fee, and if the prisoner qualifies to proceed in forma

pauperis, the prisoner may pay the fee through partial payments as outlined in 28 U.S.C. § 1915(b).

The constitutionality of the fee requirements of the PLRA has been upheld by the Sixth Circuit.

Id. at 1288.

                In addition, another provision reinforces the “stop and think” aspect of the PLRA

by preventing a prisoner from proceeding in forma pauperis when the prisoner repeatedly files

meritless lawsuits. Known as the “three-strikes” rule, the provision states:

        In no event shall a prisoner bring a civil action or appeal a judgment in a civil action
        or proceeding under [the section governing proceedings in forma pauperis] if the
        prisoner has, on 3 or more prior occasions, while incarcerated or detained in any
        facility, brought an action or appeal in a court of the United States that was
        dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon
        which relief may be granted, unless the prisoner is under imminent danger of
        serious physical injury.

28 U.S.C. § 1915(g). The statutory restriction “[i]n no event,” found in § 1915(g), is express and

unequivocal. The statute does allow an exception for a prisoner who is “under imminent danger

of serious physical injury.” The Sixth Circuit has upheld the constitutionality of the three-strikes

rule against arguments that it violates equal protection, the right of access to the courts, and due

process, and that it constitutes a bill of attainder and is ex post facto legislation. Wilson v. Yaklich,

148 F.3d 596, 604-06 (6th Cir. 1998).

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               Plaintiff has been an active litigant in the federal courts in Michigan. In more than

three of Plaintiff’s lawsuits, the Court entered dismissals on the grounds that the cases were

frivolous, malicious, and/or failed to state a claim. See Theriot v. Woods, et al., Case No. 2:08-cv-

300 (W.D. Mich. Feb. 26, 2009); Theriot v. Malhowski, et al., Case No. 2:09-cv-154 (W.D. Mich.

Aug. 7, 2009); Theriot v. Bates, et al., Case No. 2:12-cv-200 (W.D. Mich. Jun. 29, 2012). In

addition, Plaintiff was denied leave to proceed in forma pauperis pursuant to § 1915(g) in Theriot

v. Massgolia, et al., Case No. 2:14-cv-203 (W.D. Mich. Jan. 27, 2015), and Theriot v. Woods, et

al., Case No. 2:16-cv-234 (W.D. Mich. Jan. 25, 2017).

               Moreover, Plaintiff’s allegations do not fall within the “imminent danger”

exception to the three-strikes rule. 28 U.S.C. § 1915(g). The Sixth Circuit set forth the following

general requirements for a claim of imminent danger:

               In order to allege sufficiently imminent danger, we have held that “the threat
       or prison condition must be real and proximate and the danger of serious physical
       injury must exist at the time the complaint is filed.” Rittner v. Kinder, 290 F. App’x
       796, 797 (6th Cir. 2008) (internal quotation marks omitted). “Thus a prisoner’s
       assertion that he or she faced danger in the past is insufficient to invoke the
       exception.” Id. at 797–98; see also [Taylor v. First Med. Mgmt., 508 F. App’x 488,
       492 (6th Cir. 2012)] (“Allegations of past dangers are insufficient to invoke the
       exception.”); Percival v. Gerth, 443 F. App’x 944, 946 (6th Cir. 2011) (“Assertions
       of past danger will not satisfy the ‘imminent danger’ exception.”); cf. [Pointer v.
       Wilkinson, 502 F.3d 369, 371 n.1 (6th Cir. 2007)] (implying that past danger is
       insufficient for the imminent-danger exception).

                In addition to a temporal requirement, we have explained that the
       allegations must be sufficient to allow a court to draw reasonable inferences that
       the danger exists. To that end, “district courts may deny a prisoner leave to proceed
       pursuant to § 1915(g) when the prisoner’s claims of imminent danger are
       conclusory or ridiculous, or are clearly baseless (i.e. are fantastic or delusional and
       rise to the level of irrational or wholly incredible).” Rittner, 290 F. App’x at 798
       (internal quotation marks and citations omitted); see also Taylor, 508 F. App’x at
       492 (“Allegations that are conclusory, ridiculous, or clearly baseless are also
       insufficient for purposes of the imminent-danger exception.”).

Vandiver v. Prison Health Services, Inc., 727 F.3d 580, 585 (6th Cir. 2013). A prisoner’s claim

of imminent danger is subject to the same notice pleading requirement as that which applies to

prisoner complaints. Id. Consequently, a prisoner must allege facts in the complaint from which

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the Court could reasonably conclude that the prisoner was under an existing danger at the time he

filed his complaint, but the prisoner need not affirmatively prove those allegations. Id.

               Plaintiff alleges that temporary visitors to the facility took turns hitting him.

Plaintiff filed his complaint the next day seeking financial compensation. He alleged no facts

supporting an inference that the risk of injury continued. Allegations that Plaintiff faced danger

in the past are not sufficient to show that Plaintiff was in imminent danger at the time he filed his

lawsuit.

               Therefore, § 1915(g) prohibits Plaintiff from proceeding in forma pauperis in this

action. Plaintiff has twenty-eight (28) days from the date of entry of this order to pay the entire

civil action filing fee, which is $400.00. When Plaintiff pays his filing fee, the Court will screen

his complaint as required by 28 U.S.C. § 1915A and 42 U.S.C. § 1997e(c). If Plaintiff does not

pay the filing fee within the 28-day period, this case will be dismissed without prejudice, but

Plaintiff will continue to be responsible for payment of the $400.00 filing fee.



Dated: November 16, 2018                                      /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE


SEND REMITTANCES TO THE FOLLOWING ADDRESS:
Clerk, U.S. District Court
P.O. Box 698
229 Federal Bldg.
202 W. Washington St.
Marquette, MI 49855

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